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                                      December 4, 2024

VIA ECF

Hon. Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

        Re:     United States v. Combs, 24-cr-542 (AS)

Dear Judge Subramanian:

        We write on behalf of Mr. Combs to request that the Court direct the MDC to
provide Mr. Combs with the laptop prepared for him by the government, and allow him to
use that laptop on his unit, consistent with the way other inmates on his unit are permitted
to use their laptops.

        Two months after he was charged and detained, on November 25, 2024, the
government provided the MDC with a laptop that Mr. Combs can use to review discovery,
take notes related to his case, and otherwise assist in his defense. In the nine days since
then, Mr. Combs has still not been provided with the laptop despite numerous inquiries by
defense counsel. Finally, this morning, the government informed defense counsel that after
consultation with MDC counsel, Mr. Combs has two options related to his laptop: (1) he
will only be provided with the laptop in the unit’s video-teleconference room during select
times when legal staff is available and when that room is not otherwise being used during
other inmates’ legal calls; or (2) he will only be provided with the laptop in the legal visiting
room between the hours of 8-3:30pm. But, not both. These restrictions are untenable and
from what we understand, not required of any other inmate on Mr. Combs’ unit. They
significantly limit the time available for Mr. Combs to use the laptop and force Mr. Combs
to choose between using the laptop and meeting with his attorneys (who often meet with
Mr. Combs over video-teleconference). There is also no justification for these restrictions.
To be clear, the discovery provided on Mr. Combs laptop does not contain any evidence
designated as “attorneys’ possession only” and therefore does not contain anything that
could potentially risk the safety or privacy of alleged victims or witnesses. See Dkt. 26.
While the terms of the Protective Order disallow Mr. Combs from disclosing the discovery
to third parties, there is no reason to believe that Mr. Combs is going to show it to other
inmates such that a departure from normal MDC practice is warranted. Thus, there is no
conceivable reason why such restrictions should be placed on Mr. Combs. Nor could any
reason outweigh his significant interest in reviewing discovery and assist in preparing his
defense. Moreover, given the government’s efforts to surreptitiously monitor and record
his handwritten legal notes, Mr. Combs’ need for a laptop to take legal notes free from
government surveillance is heightened.
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        In addition, last night, defense counsel learned that the MDC has been providing
the prosecution team – and not via the filter team – copies of MDC attorney visitation
forms. Who Mr. Combs meets with in connection with his legal defense – including
potential experts and investigators – is potentially privileged. Even if not privileged, this
level of surveillance offends due process and hampers his ability to prepare his defense.
The MDC has informed defense counsel that it produces such information whenever a
defendant complains about inability to access his attorneys. Here, however, the defense
has not taken issue with Mr. Combs’ ability to meet with his attorneys in-person at the
MDC. Rather, Mr. Combs’ inability to prepare for his defense stems from the restrictions
the government has placed on his ability to receive and review discovery, and his inability
to keep his privileged legal notes confidential. There is no conceivable reason why the
government should know who and when Mr. Combs meets with in connection with his
legal defense.

         Accordingly, we respectfully request that the Court direct the MDC to (1) provide
Mr. Combs with the laptop that has been prepared and provided by the government, and to
allow him to use it in the unit; and (2) cease sending the government copies of attorney
visitation forms.

       The government has indicated that it intends to file a response.


                                                 Respectfully submitted,



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